
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-1171
                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.
                                     JAMIE ROSE,

                                Defendant, Appellant.
                                 ____________________

        No. 95-1752

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                   NORMAN VERRILL,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND
                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________
                                        Before

                                 Cyr, Circuit Judge,
                                      _____________
                            Coffin, Senior Circuit Judge,
                                    ____________________
                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________

            Mark F. Itzkowitz for appellant Jamie Rose.
            _________________
            Thornton E. Lallier, with  whom Lallier &amp; Anderson  was on  brief,
            ___________________
        for appellant Norman Verrill.
            Kenneth  P. Madden,  Assistant U.S.  Attorney, with  whom  Sheldon
            __________________                                         _______
        Whitehouse,  U.S. Attorney,  and  Margaret E.  Curran, Assistant  U.S.
        __________                        ___________________
        Attorney, were on brief, for appellee.
                                 ____________________
                                   January 30, 1997
                                 ____________________



















                      LYNCH, Circuit Judge.  These two appeals arise  out
                      LYNCH, Circuit Judge.
                             _____________

            of  the armed robbery of  the Dexter Credit  Union in Central

            Falls,  Rhode  Island  on April  6,  1994.    Jamie Rose  was

            convicted  of conspiracy  to rob  a federally  insured credit

            union in violation of 18 U.S.C.    371, 2113(a), and of being

            a  felon in  possession  of  a  firearm  in  violation  of   

            922(g)(1).   Norman  Verrill was  convicted of  the  same two

            offenses and also of armed robbery and robbery of a federally

            insured  credit union.   18 U.S.C.   2113(a),  (d).  Rose was

            sentenced to 60 months'  imprisonment on the conspiracy count

            and  to  120  months'  imprisonment  for  being  a  felon  in

            possession;  the sentences  are  consecutive.    Verrill  was

            sentenced as  a career offender and an  armed career criminal

            to a term of 264 months.

                      On appeal, Rose raises a plethora of issues, two of

            which are weightier than  the rest and require us  to address

            issues  previously  unresolved  by  this court.    The  first

            concerns  the jury charge that may properly be given based on

            evidence  of a  defendant's  possession  of  recently  stolen

            property.  The second  is whether the trial court  abused its

            discretion by admitting a potentially inflammatory photograph

            into evidence,  and if so, whether this  court has discretion

            to  determine   whether  the  error  was harmless  where  the

            government has  not so  argued.  Verrill  appeals exclusively





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            from the determinations made  as to his sentence.   We affirm

            the convictions and the sentences.

                                          I.

                      During the late morning of April 6, 1994, three men

            wearing  masks entered  the  Dexter Credit  Union in  Central

            Falls, Rhode Island.   The  credit union was  insured by  the

            National Credit Union Administration.   One robber brandished

            a semi-automatic pistol while the two others  took money from

            the teller stations.  A fourth masked man waited outside in a

            black  pickup  truck, which  the robbers  used as  a get-away

            vehicle.  Credit union  employees determined that $10,584 had

            been stolen.1

                      Police arrived at the scene a few minutes after the

            robbers had fled.   They found the  get-away truck abandoned,

            with  its engine running, a few blocks from the credit union.

            The ignition had  been "popped," and the police later learned

            that the truck had been stolen two days before.

                      The authorities thought they knew where to find the

            culprits.  Both the FBI and  the Providence Police Department

            had  been   investigating  Verrill,  Rose,  David   Vial  and

            Christopher  Thibodeau in  connection with  a series  of bank

            robberies.  A confidential informant had provided information

            that the  four men were involved in robbing banks.  A team of


                                
            ____________________

            1.  The loss was initially thought to be $10,913.53, but that
            figure was later adjusted downward.  

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            officers,  consisting  of FBI  agents  and  Providence police

            officers who were part of a bank robbery task force,  went to

            Vial's  home in North Providence  and waited outside.   A few

            minutes later, a champagne-colored Nissan Pathfinder carrying

            four  men pulled into the  building parking lot.   Task force

            members had seen Rose and Thibodeau in the Pathfinder earlier

            that  day  and knew  that the  vehicle  had been  stolen some

            months  earlier and that  the license plates  had been stolen

            eleven days before the bank hold-up.

                      The  task force  members approached  the Pathfinder

            and  identified themselves.   Rose,  who was  driving, pulled

            away  at  high speed,  nearly  hitting  two officers  in  the

            process.    The officers  began  shooting.   Vial  managed to

            escape  temporarily: he  was found  about forty-five  minutes

            later hiding in a  bush.  The officers ordered  Rose, Verrill

            and  Thibodeau out of the  vehicle.  Thibodeau,  who had been

            wounded, was lying on the front seat; when the police removed

            him from  the car,  they found that  he was  holding a  Glock

            semi-automatic  pistol in  his left  hand and  had a  Smith &amp;

            Wesson  automatic pistol in the waistband of his pants.  Both

            were  loaded with  Winchester  9 millimeter  Black Talon  and

            Federal  Cartridge  hardball 9  millimeter  round ammunition.

            The  officers found two small gym bags,  containing over nine

            thousand dollars and makeshift masks, in the back seat of the

            Pathfinder.   Some  of the  money was  banded by  paper money



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            straps  bearing the markings of the Dexter Credit Union.  The

            four men were arrested.

                      Rose  had  suffered  a  scalp  laceration  and  was

            brought to Rhode Island  Hospital.  The physician's assistant

            who  treated  him  found  a   screwdriver,  a  pager  and  an

            ammunition  clip from  a Glock  semi-automatic pistol  in his

            trouser  pockets.   These  items had  not  been found  in  an

            earlier pat-down of Rose.

                      Later that  night, an  FBI agent executed  a search

            warrant at Rose's home in Providence.  There, the agent found

            a box  of Federal  Cartridge ammunition designed  to hold  50

            rounds of ammunition  but only containing 39  rounds, as well

            as a leather pistol case.  The agent also seized a photograph

            album  containing pictures  of Rose  and others.   Among  the

            photos were five of Rose holding what appeared to be  a Glock

            semi-automatic pistol.  One of the photos showed Rose, finger

            on  the trigger, pointing the  pistol at the  head of another

            young man.

                      Defendants were  charged with conspiracy to rob the

            Dexter  Credit  Union; armed  robbery  of  the credit  union;

            robbery of  the credit  union; using  and carrying  a firearm

            during  a crime of violence;  and possession of  a firearm by

            previously convicted felons.  Vial  and Thibodeau, two of the

            men in the car, pleaded guilty  to some of the counts and the





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            rest of the charges against them were dismissed.  Verrill and

            Rose proceeded to trial.

                      Rose moved to sever his trial from Verrill's and to

            sever  the felon-in-possession charge from the other charges.

            The motions were  denied after a hearing, as was a motion for

            reconsideration.   The  district  court  ruled that,  because

            there was  no evidence  of what  Verrill's defense would  be,

            there was no basis  for concluding that Rose and  Verrill had

            antagonistic defenses. 

                      Vial,  a government  witness,  testified  that  he,

            Verrill and  Thibodeau entered  the credit union  while Rose,

            who had the Glock, remained outside in the truck.   Vial said

            that Thibodeau had  waited at  the door of  the credit  union

            holding  the Smith  &amp; Wesson  while he  and Verrill  took the

            money.  He also testified that all four men fled in the truck

            but then switched  to a  second stolen vehicle  which he  and

            Rose had left  near the  credit union earlier  that day,  and

            that soon afterwards, they moved to the Pathfinder.

                      Rose's consecutive  60 and 120 month sentences were

            based  on the  guideline for  robbery,  U.S.S.G.    2B3.1, as

            dictated by the conspiracy guideline,  U.S.S.G.   2X1.1.  The

            conspiracy guideline requires that the base offense level for

            a conspiracy  conviction be  that of the  substantive offense







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            plus adjustments for any  intended conduct.2  See  U.S.S.G.  
                                                          ___

            2X1.1(a).

                      Verrill  was  sentenced  both  as  an  armed career

            criminal pursuant to 18 U.S.C.   924(e) and U.S.S.G.   4B1.4,

            and as a  career offender pursuant to  U.S.S.G.   4B1.1.   As

            either  an armed  career  criminal or  as a  career offender,

            Verrill's  offense  level was  34  and  his criminal  history

            category VI, which translates into a guidelines  range of 262

            to 327 months.  He was  sentenced to 264 months.  This appeal

            ensued.

                                         II.



                      Rose argues that his  conviction should be reversed

            for  several  reasons:  that   the  trial  court  abused  its

            discretion in  denying the motions  to sever  his trial  from

            Verrill's  and to sever  the felon-in-possession  count; that

            the trial  court made erroneous  and prejudicial  evidentiary

            rulings;  and  that  the charge  to  the  jury  was at  times



                                
            ____________________

            2.  After determining the  specific offense  characteristics,
            the  court calculated  the offense  level for  the conspiracy
            count as 31 and the offense level for the felon-in-possession
            count as  27.   The  district  court appropriately  used  the
            higher  offense  level  of  31,  see  U.S.S.G.     3D1.3, and
                                             ___
            determined that  Rose had a  criminal history category  of V.
            The guideline range was 168 to  210 months.  With a statutory
            maximum of 5 years for the conspiracy conviction and 10 years
            for  the felon-in-possession  conviction, the  district judge
            determined the range to be 168 to 180 months.  He effectively
            sentenced Rose to the statutory maximum.

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                                          7















            erroneous  and at times incomplete.   We deal  first with his

            more serious arguments.

            Jury Instruction on Recently Stolen Property
            ____________________________________________

                      Rose  questions  several  aspects  of  the  court's

            charge to the jury.   The most significant challenge concerns

            the instruction  regarding the  inferences that the  jury may

            permissibly draw from the  defendant's possession of recently

            stolen items.  In  the context of discussing the  stolen get-

            away  vehicles,  the  court  instructed  the  jury  that  the

            possession of recently stolen property, if not satisfactorily

            explained,  could  support an  inference  not  only that  the

            person in possession  knew that the property  was stolen, but

            also that he participated in the theft.3

                      This raises a question  of first impression in this

            circuit.4   The challenged instruction is  reviewed for abuse

            of discretion  to determine  whether the  charge, taken as  a

            whole, "'fairly and adequately submits the issues in the case

            to the jury.'"  United States v. Picciandra, 788 F.2d 39,  46
                            _____________    __________



                                
            ____________________

            3.  Rose also  argues that the phrase  "if not satisfactorily
            explained" impermissibly  penalized him  for failing  to take
            the stand.   This latter  argument has been  rejected by  the
            Supreme Court.  Barnes v. United States, 412 U.S. 837, 846-47
                            ______    _____________
            (1973).

            4.  It has  long been the law that the jury may infer from an
            individual's possession  of  recently stolen  items that  the
            individual knew the property had been stolen.   See generally
                                                            _____________
            United States  v. Farnkoff,  535 F.2d 661,  666-67 (1st  Cir.
            _____________     ________
            1976).

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            (1st Cir. 1986) (quoting  United States v. Fishbach  &amp; Moore,
                                      _____________    __________________

            Inc., 750 F.2d 1183, 1195 (3d Cir. 1984)).
            ____

                      We join  the other  circuit courts of  appeals that

            have  concluded that  possession of recently  stolen property

            may support  an inference  of participation  in the  theft of

            that  property.  United States  v. Clark, 45  F.3d 1247, 1250
                             _____________     _____

            (8th Cir. 1995); United States v. Ferro, 709 F.2d 294, 296-97
                             _____________    _____

            (5th Cir. 1983); United States  v. DiGeronimo, 598 F.2d  746,
                             _____________     __________

            754-55 (2d Cir. 1979);  United States v. Long, 538  F.2d 580,
                                    _____________    ____

            580-81  (4th  Cir.  1976)  (per  curiam);  United  States  v.
                                                       ______________

            Plemons, 455 F.2d  243, 246  (10th Cir. 1972).   These  cases
            _______

            rely  in  large part  on  the  widespread acceptance  of  the

            principle and on the common sense reasoning that supports the

            inference.  See, e.g., Long, 538 F.2d at 581.
                        ___  ____  ____

                      We emphasize the limits  on instructions as to this

            inference.   First, the instruction may not be given in every

            case where a defendant was  in possession of recently  stolen

            property.  As the Second Circuit noted, in certain situations

            the inference "would verge on the irrational" in light of the

            other evidence in the case.  United States v. Tavoularis, 515
                                         _____________    __________

            F.2d 1070, 1074-75  (2d Cir. 1975); see  also DiGeronimo, 598
                                                ___  ____ __________

            F.2d  at  754.   For example,  in  the absence  of additional

            evidence  tending to  support the  inference, it  may not  be

            appropriate  to give the instruction.   The court must always

            act  as  a  check,   ensuring  "that  the  evidence  warrants



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            permitting the jury to draw [the] inference."  Clark, 45 F.3d
                                                           _____

            at 1250.

                      Second,  the  instruction  involves   a  permissive

            inference  rather than  a  presumption.   The decision  about

            whether  the defendant's  unexplained possession  of recently

            stolen property  supports the  conclusion that  the defendant

            participated in the theft is made by the jury based on all of

            the evidence.  Ferro, 709 F.2d at 297.
                           _____

                      With this in mind, we turn to Rose's claim that the

            five month period between the theft of the Pathfinder and his

            arrest  lessens the  applicability  of the  inference.   This

            claim  ignores the other evidence  in the case.   The license

            plates on the  Pathfinder were stolen  within eleven days  of

            the  robbery, the black pickup  truck within two  days of the

            robbery, and  Vial's testimony linked Rose to the truck.   On

            these  facts, the  inference  that Rose  participated in  the

            theft  of the  get-away cars  is not  at all  unreasonable or

            unwarranted.

            Evidentiary Rulings
            ___________________

                      Rose  argues  that  the  district  court  erred  by

            admitting into evidence several  items found in his apartment

            and  that  this error  was  not harmless.    Specifically, he

            asserts that  the admission of  photos of himself  and others

            with what appears to be  a Glock pistol, of a  leather pistol

            case  and  a photograph  showing where  it  was found  in his



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            apartment and  of  a  box of  ammunition for  a 9  millimeter

            pistol violated  Fed. R.  Evid. 403, because  the prejudicial

            impact of  these items far outweighed  their probative value.

            Review of the trial court's evidentiary rulings is for  abuse

            of  discretion.  United States  v. Lombard, 72  F.3d 170, 187
                             _____________     _______

            (1st Cir. 1995).

                      This evidence, in general,  met a threshold test of

            relevance.  Pistols played an  important role in the  charged

            crimes.   One of the  robbers brandished a  pistol inside the

            credit  union.   Vial testified  that Rose  was armed  with a

            second pistol.   Two  9 millimeter pistols  were seized  from

            codefendant Thibodeau, and  a clip of ammunition  for a semi-

            automatic  pistol was found on  Rose at the  hospital.  Items

            linking  Rose   to  pistols  tended  to   corroborate  Vial's

            testimony  that Rose was a participant  in the conspiracy and

            that he had possessed the Glock.

                      The presence  of  a leather  case for  a pistol  in

            Rose's  home is evidence that  Rose kept such  a weapon there

            before the crime.  That the case was manufactured by Browning

            rather  than by Smith  &amp; Wesson or  Glock goes  to the weight

            rather  than to  the relevance  of the  evidence.   The jury,

            during  their deliberations,  had  access to  the two  seized

            weapons  and to  the  pistol case  and  therefore could  have

            determined whether either of the pistols fit the case.





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                      The  relevance  of  the  ammunition  is  even  more

            readily apparent.   The ammunition  was of the  same type  as

            that  found in  the two  guns seized  when Rose  and his  co-

            defendants were  apprehended.  The box was  marked as holding

            fifty  rounds, but  contained only  thirty-nine rounds.   The

            jury reasonably could have inferred that at least some of the

            missing rounds had been used to load the two pistols.

                      In general, the photographs showing Rose with a gun

            are  relevant.   FBI Special  Agent Kevin Eaton  testified at

            trial  that the gun in the photographs appeared to be a Glock

            firearm; Eaton  stated that Glocks have  "a very distinctive"

            look.   The photographs thus link  Rose to one of the weapons

            seized, providing strong corroboration for Vial's inculpatory

            testimony.

                      The  pistol case  and accompanying  photograph, the

            ammunition,  and four  of the  photographs showing  Rose with

            what appeared to be a Glock were not unduly prejudicial.  One

            of  the photos,  however,  which shows  Rose,  finger on  the

            trigger,  with his gun pointed at the head of another person,

            is  potentially quite inflammatory.  Rose is correct that the

            photo  could lead  a jury  to believe  that anyone  who would

            point a  possibly loaded pistol  at the  head of a  friend is

            extremely reckless  and capable of criminal  acts.  Moreover,

            this  photograph was  at  best cumulative  of the  four other

            photographs linking Rose to  the gun.  The admission  of this



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            photograph into evidence constituted an  abuse of discretion.

            The government all but conceded as much at oral argument.

                      In the usual case, a non-constitutional evidentiary

            error  will be treated as  harmless if it  is highly probable

            that the error  did not  contribute to the  verdict.   United
                                                                   ______

            States  v. Rodriguez  Cortes,  949 F.2d  532,  543 (1st  Cir.
            ______     _________________

            1991); United States  v. Benavente Gomez,  921 F.2d 378,  386
                   _____________     _______________

            (1st Cir. 1990).  In a harmless error inquiry, the government

            bears the burden of  persuasion with respect to showing  that

            the error was  harmless.   United States v.  Olano, 507  U.S.
                                       _____________     _____

            725,  734-35 (1993).  By contrast, in a plain error argument,

            the defendant bears  the burden.   Id.   The government  here
                                               ___

            failed  to   argue  that  the    court's   admission  of  the

            photograph,  if   error,  would   be  harmless.     Does  the

            government's  failure  to  raise  this issue  in  its  brief5

            preclude  further review and  automatically require  that the

            conviction be reversed  and sent  back for trial?   We  think

            not.   Here we review to determine whether the government met

            its burden  despite its failure explicitly  to argue harmless

            error.

                      We join several other  circuit courts of appeals in

            holding that  appellate courts have the  discretion on direct

            appeal to overlook the government's failure to argue that the

                                
            ____________________

            5.  At  oral  argument, in  response  to  questions from  the
            court,  the  government  suggested  that any  error  must  be
            harmless.

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            admission of the challenged evidence, if error, was harmless,

            and that appellate courts may therefore consider the issue of

            harmlessness sua sponte.   Horsley v. Alabama,  45 F.3d 1486,
                                       _______    _______

            1492 n.10 (11th  Cir. 1995); United  States v. Langston,  970
                                         ______________    ________

            F.2d 692, 704 n.9  (10th Cir. 1992); Lufkins v.  Leapley, 965
                                                 _______     _______

            F.2d  1477, 1481 (8th Cir. 1992); United States v. Pryce, 938
                                              _____________    _____

            F.2d  1343, 1348 (D.C. Cir.  1991) (opinion of Williams, J.);

            United  States v. Giovannetti,  928 F.2d  225, 227  (7th Cir.
            ______________    ___________

            1991).   In Rodriguez Cortes,  this court noted,  but did not
                        ________________

            resolve, the question, having found the evidence admitted was

            not harmless.  949 F.2d at 543.

                      Here,  we  find  that  the  evidence  admitted  was

            plainly harmless.  The  photograph was cumulative, the weight

            of  the   additional  evidence  overwhelming.     Under  such

            circumstances, "it would be a waste of judicial  resources to

            require  a new  trial where  the result  is likely to  be the

            same."  Id.
                    ___

                      Courts  have variously  grounded  the authority  to

            engage in sua  sponte harmless error  review on the  arguably

            mandatory language of Rule 52(a), which states that any error

            which   does  not   affect  substantial   rights  "shall   be
                                                               _____

            disregarded," and on other related doctrines.  See Pryce, 938
                                                           ___ _____

            F.2d at 1351 (Randolph, J.,  concurring).  Of obvious concern

            is   the  cost  to  the  public  of  new  trials  because  of

            carelessness  on the part of  the prosecutors on appeal where



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            the other evidence has  established guilt beyond a reasonable

            doubt  and there is little reason to think the error infected

            the jury  deliberations.   Also relevant  is the  interest in

            avoiding  incentives to  the government to  fail to  make the

            proper arguments.

                      The  Seventh Circuit  decides whether  to undertake

            the  harmless error analysis sua sponte based on a three part

            test  considering  "[1]  the  length and  complexity  of  the

            record, [2] whether the  harmlessness of the error or  errors

            found is certain  or debatable,  and [3]  whether a  reversal

            will  result  in protracted,  costly,  and ultimately  futile

            proceedings in the district court."  Giovannetti, 928 F.2d at
                                                 ___________

            227.   While  we find  helpful the  reasoning of  the Seventh

            Circuit,  we do  not  restrict ourselves  to the  Giovannetti
                                                              ___________

            test.  See Pryce, 938 F.2d at 1348 (opinion of  Williams, J.)
                   ___ _____

            (agreeing with  the general  approach of Giovannetti  but not
                                                     ___________

            adopting the  specific factors).  The  exercise of discretion

            involves the balancing of many elements.  Among these are the

            state  of  the  record and  whether  the  arguments that  the

            government does make  provide assistance to the court  on the

            harmlessness issue.6  

                                
            ____________________

            6.  Here,  many of the arguments made by the government as to
            why the photograph was not prejudicial under Rule 403 also go
            to the  question of  harmlessness.   Another example  of this
            phenomenon is  when the  government marshals the  evidence in
            response  to an  argument  that the  verdict was  against the
            weight  of the  evidence.   That  evidence  too would  be  of
            assistance to the court in a harmless error analysis.

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                      The government's case is, of course, put at risk by

            its failure  to  argue that  admission  of the  evidence  was

            harmless.  Here,  it survives the risk;  in other situations,

            it  may  not.    Although  the  district  court  abused   its

            discretion by admitting the  photograph of the mock shooting,

            that is not a basis for overturning the conviction.

            Severance
            _________

                      Rose  challenges  the  district  court's  denial of

            motions  to sever his trial  from Verrill's and  to sever the

            felon-in-possession  count.  See Fed. R. Crim. P. 14.  Review
                                         ___

            is for abuse  of discretion.  United States  v. Levy-Cordero,
                                          _____________     ____________

            67 F.3d 1002, 1007 (1st Cir. 1995), cert. denied,  116 S. Ct.
                                                ____________

            1558  (1996).   Defendant on  appeal must  make a  strong and

            specific showing of  prejudice.  The prejudice  shown must be

            greater  than that  inherent  in trying  multiple counts  and

            multiple defendants  together.  United States  v. Yefsky, 994
                                            _____________     ______

            F.2d 885, 896 (1st  Cir. 1993); United States v.  Walker, 706
                                            _____________     ______

            F.2d 28,  30 (1st Cir. 1983).   Rose fails to  meet this high

            standard.

                      Rose argues  that being  tried with  Verrill forced

            him to abandon his intention of testifying on his own behalf.

            He maintains that he  did not participate in the  robbery but

            merely picked up Verrill, Vial and Thibodeau when they called

            to ask him to do so, and  that he only learned of the robbery

            after the three men got into  the car.  He argues that if  he



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            had  testified,  Verrill  would   have  taken  the  stand  to

            implicate  him.   Rose  concludes  that  he  and Verrill  had

            antagonistic defenses which required severance.

                      The  Supreme  Court   has  held  that   conflicting

            defenses  of   codefendants   do  not   necessarily   require

            severance,  reasoning that  the risk  of prejudice  will vary

            with the facts of  each case.   Zafiro v. United States,  506
                                            ______    _____________

            U.S. 534, 538  (1993).   This court has  further refined  the

            analysis,  holding that  antagonistic  defenses only  require

            severance if the tensions  between the defenses are  so great

            that the finder of  fact would have to believe  one defendant

            at the expense of the other.  United States v. Smith, 46 F.3d
                                          _____________    _____

            1223, 1230 (1st Cir.), cert. denied, 116 S. Ct. 176 (1995).
                                   ____________

                      The trial  judge explained that he  was denying the

            motion because he did not know whether Verrill actually would

            testify if  Rose did,  and if so  what the substance  of that

            testimony would  be.   The  judge  offered to  entertain  the

            motion  anew during trial if Verrill did in fact testify, but

            he  had no  basis  prior to  trial  for concluding  that  the

            codefendants had inconsistent defenses.  Of course, the trial

            judge  had a "continuing duty  at all stages  of the trial to

            grant a  severance if prejudice [] appear[ed]."   Schaffer v.
                                                              ________

            United  States, 362  U.S. 511,  516 (1960).   Like  the trial
            ______________

            judge in Schaffer, the trial judge here was "acutely aware of
                     ________

            the possibility  of prejudice,"  id., and was  explicit about
                                             ___



                                         -17-
                                          17















            his  willingness to  sever if  a prejudicial  situation arose

            during trial.

                      That eventuality never occurred.  Neither Rose  nor

            Verrill  put  on any  evidence  tending  to show  conflicting

            defenses.   Rose put on  two witnesses who  testified that he

            had  not  been the  driver of  the  black pickup  truck,7 and

            Verrill  put  on no  witnesses at  all.   This  testimony was

            insufficient  to   establish   that  the   codefendants   had

            antagonistic defenses.8  Nor were the arguments made by their

            counsel   necessarily   contradictory.      Rose's   attorney

            essentially  argued that Rose  had been nothing  more than an

            accessory after the fact, while Verrill's counsel argued that

            the government had failed to meet its burden of proof.  These

            theories  are not  irreconcilable.   Even if  they were,  the

            level  of antagonism in defenses is  measured by the evidence

            actually  introduced at  trial;  argument by  counsel is  not

            evidence.  Smith, 46 F.3d at 1230.
                       _____

                      Nor  did the  trial court  abuse its  discretion in

            failing to sever the  felon-in-possession count.  Rose argues

            that if that  count had  been severed, the  jury would  never

            have  known of his status  as a convicted  felon.  He asserts

                                
            ____________________

            7.  Rose  also recalled  one  of  the  police officers  as  a
            defense witness.

            8.  Furthermore,  Rose's  claim  of  prejudice  rests on  the
            premise that if Rose had testified, Verrill would  have taken
            the  stand to implicate him.   This seems  improbable, for it
            would have required Verrill to implicate himself as well.

                                         -18-
                                          18















            that this information tainted him in the eyes of the jury and

            resulted in his conviction on the conspiracy count.

                      The felon-in-possession charge  was properly  tried

            with  the  other charges  because it  arose  out of  the same

            occurrence.     Any  prejudice   was  limited  because   Rose

            stipulated  to  his  status   as  a  prior  convicted  felon.

            Consequently,  the government  was  not permitted  to put  on

            evidence  concerning the  number and  nature of  Rose's prior

            felony convictions.  Old Chief v. United States, -- S. Ct. --
                                 _________    _____________

            (1997);   United States v.  Tavares, 21 F.3d  1, 4 (1st  Cir.
                      _____________     _______

            1994)  (en  banc).    Finally,  it  is  improbable  that  the

            knowledge of Rose's status as a prior convicted felon led the

            jury to  convict him of the conspiracy charge in light of the

            acquittal on the two bank robbery charges.

            Other Jury Instructions
            _______________________

                      Rose also  argues that the district  court erred by

            refusing to charge the  jury that mere presence at  the scene

            of  a  crime  was  not  sufficient  to  convict  him  on  the

            conspiracy  charge.   The  trial  court's failure  to  give a

            requested instruction  on the defendant's theory  of the case

            is reversible error only if the requested instruction (1) was

            substantively  correct; (2)  was  not  substantially  covered

            elsewhere in the charge; and (3) concerned an important point

            in  the  case so  that the  failure  to give  the instruction

            seriously impaired  the defendant's  ability  to present  his



                                         -19-
                                          19















            defense.  United  States v.  Williams, 809 F.2d  75, 86  (1st
                      ______________     ________

            Cir. 1986); United States  v. Gibson, 726 F.2d 869,  874 (1st
                        _____________     ______

            Cir. 1984).

                      Jury instructions are viewed  in the context of the

            charge as a whole rather than in isolation.  United States v.
                                                         _____________

            Nickens, 955 F.2d 112, 119 (1st Cir. 1992).  Furthermore, the
            _______

            trial court's charge need not use the exact wording requested

            by the defendant so long as the  instruction incorporates the

            substance  of  the defendant's  request.    United States  v.
                                                        _____________

            Campbell, 874 F.2d 838, 844 (1st Cir. 1989).  Here, the court
            ________

            instructed the jury as follows:

                           Evidence that the  defendant was  in
                      the company of, or associated with one or
                      more of the persons alleged, or proved to
                      have become  a member of  the conspiracy,
                      is  not  sufficient  to  prove  that such
                      defendant  was  a member  of  the alleged
                      conspiracy.  Mere  similarity of  conduct
                      among various persons, and the  fact that
                      they may have associated with each other,
                      may  have  been  together  and  discussed
                      common  interests  is  not sufficient  to
                      establish membership in a conspiracy.

            In  addition,  as  part  of the  instruction  on  aiding  and

            abetting, the jury was explicitly told that mere  presence at

            the scene of the crime, even when coupled with knowledge, was

            insufficient  to sustain a  conviction.  On  these facts, the

            jury   charge   substantially    covered   Rose's    proposed

            instruction, and  there was no error.

                      Rose  also  contends  that  the   district  court's

            instruction on drawing an inference of guilt from flight from


                                         -20-
                                          20















            the  scene of the crime was incomplete.   It is true that the

            instruction did  not explicitly  direct the jury  to consider

            other possible inferences.   However, the charge did indicate

            that it  was up to the  jury to determine whether  to draw an

            inference  of  guilt  from  the flight.    This  conveys  the

            substance of Rose's requested charge.  Williams, 809  F.2d at
                                                   ________

            88.  Furthermore, a  court need only  instruct the jury on  a

            defense theory if there is supporting evidence in the record.

            United  States v.  Silvestri,  790 F.2d  186,  192 (1st  Cir.
            ______________     _________

            1986).   Rose's counsel suggested  another possible inference

            by arguing  in closing that Rose's  flight was understandable

            given  that he  was  surrounded by  men  with drawn  weapons.

            However,  no  evidence  was  adduced  to  this  effect.   The

            challenged instruction was a correct statement of the law.

                      The final claim Rose makes with respect to the jury

            instructions is that  the district court erred by refusing to

            give a "missing evidence" instruction.   We review for  abuse

            of  discretion.  United States  v. Welch, 15  F.3d 1202, 1214
                             _____________     _____

            (1st Cir. 1993).  One of the situations that may warrant such

            an  instruction is when  a party with  exclusive control over

            relevant,  noncumulative  evidence   fails  to  produce  that

            evidence.   Cf. United States v. St.  Michael's Credit Union,
                        ___ _____________    ___________________________

            880   F.2d  579,  597   (1st  Cir.   1989)("missing  witness"

            instruction).  Rose argues that the FBI's failure  to examine

            the  ammunition clip  found  on his  person for  fingerprints



                                         -21-
                                          21















            justified the missing  evidence instruction.   However,  this

            was not a case where the government failed to provide readily

            available  evidence.    The  fingerprint  evidence  was never

            collected.  Rose's  counsel was  free to argue  that, in  the

            absence of such evidence, the government had not sufficiently

            linked Rose to the crime.  See United States v. Martinez, 922
                                       ___ _____________    ________

            F.2d  914,  925  (1st Cir.  1991).   There  was  no  abuse of

            discretion.

            Rose's Sentence
            _______________

                      Rose  charges that  the  district court  should not

            have calculated  his base  offense level using  the guideline

            for   robbery,  because  he had  been  acquitted of  robbery.

            Review   of  the   purely  legal   question  of   the  proper

            interpretation of a sentencing guideline  is de novo.  United
                                                         __ ____   ______

            States v. Olbres,  99 F.3d 28, 35 (1st Cir.  1996).  There is
            ______    ______

            no error here.

                      The   conspiracy   guideline  reflects   "a  policy

            decision that  conspiracies . . . be treated like substantive

            offenses  for  sentencing  purposes."     United  States   v.
                                                      ______________

            Chapdelaine,  989 F.2d 28, 36 (1st Cir. 1993).  This question
            ___________

            is  different from  the acquitted  conduct question  faced by

            this court in United  States v. Mocciola, 891 F.2d  13, 16-17
                          ______________    ________

            (1st  Cir.   1989),  and   in  Lombard,   72  F.3d   at  174.
                                           _______

            Furthermore, the Supreme Court recently held in United States
                                                            _____________

            v. Watts that a "jury's verdict of acquittal does not prevent
               _____



                                         -22-
                                          22















            the sentencing court from considering  conduct underlying the

            acquitted charge, so long as the conduct has been proved by a

            preponderance of the evidence."  -- S. Ct. -- (1997).

                                         III.

            Verrill
            _______

                      Verrill  argues that  the district  court erred  in

            sentencing  him as a career  offender and as  an armed career

            criminal.  Under the  guidelines, an individual is considered

            a career offender if (1) he was at least 18 years old  at the

            time  he  committed  the  offense  for   which  he  is  being

            sentenced; (2) the offense is a  felony and either a crime of

            violence or  a substance abuse  crime; and (3)  the defendant

            has  at least  two prior convictions  for crimes  of violence

            and/or substance  abuse crimes.   U.S.S.G.   4B1.1.   Verrill

            argues,  erroneously,  that  he   does  not  meet  the  third

            requirement.

                      A crime  of violence is defined,  in relevant part,

            as a state  or federal  offense punishable by  more than  one

            year in prison  that "is  burglary of a  dwelling, arson,  or

            extortion, involves use of  explosives, or otherwise involves

            conduct that  presents a  serious potential risk  of physical

            injury  to another."    U.S.S.G.    4B1.2(1)(ii).   Verrill's

            presentencing   report  lists   ten  prior   offenses:  three

            instances  of  entering  a  dwelling with  intent  to  commit

            larceny,  three  instances  of  breaking  and  entering,  one



                                         -23-
                                          23















            instance of breaking and  entering a dwelling with  intent to

            commit larceny,  one instance  of breaking and  entering with

            intent to  commit larceny,  one instance  of possession  of a

            stolen  vehicle,  and one  instance of  escape.   Six  of the

            offenses,  at least  four  of which  were  clearly crimes  of

            violence, took place during a four month period  when Verrill

            was only eighteen years  old.  He therefore argues  that they

            should only count as  a single offense.  Verrill  also argues

            that  none  of his  later  offenses  (breaking and  entering,

            breaking  and   entering  with  intent   to  commit  larceny,

            possession  of a stolen  vehicle, and escape)  were crimes of

            violence or involved a controlled substance.  

                      Whether  a  particular   offense  qualifies  as   a

            predicate offense for career offender purposes is reviewed de
                                                                       __

            novo.   United  States v. Winter,  22 F.3d  15, 18  (1st Cir.
            ____    ______________    ______

            1994).   This court takes a categorical approach and looks to

            the statutory  definitions rather than  the particular facts.

            Id;  see  also Taylor  v. United  States,  495 U.S.  575, 598
            __   _________ ______     ______________

            (1990).   It is therefore  irrelevant that none  of the facts

            underlying the prior offenses for which Verrill was convicted

            involved the use of physical  force against another.  Verrill

            was  convicted  of breaking  and  entering  and breaking  and

            entering with intent  to commit larceny in  violation of R.I.

            Gen. Laws    11-8-4.  On  very similar facts,  this court has

            held that violation  of that statute  constitutes a crime  of



                                         -24-
                                          24















            violence  for career  offender  purposes.   United States  v.
                                                        _____________

            Fiore, 983  F.2d 1, 4-5 (1st Cir. 1992).  After all, burglars
            _____

            may resort to violence if  someone arrives while the burglary

            is  in progress.  United  States v. Patterson,  882 F.2d 595,
                              ______________    _________

            604  (1st Cir. 1989).  Verrill's record shows, apart from his

            activities when  he was eighteen,  that he has  the requisite

            two prior convictions to qualify as a career offender.

                      The  district  court's  calculation  of  an offense

            level of 34 is correct if Verrill is either a career offender

            or an armed career criminal.   Having determined that Verrill

            was correctly  sentenced as  a career offender,  there is  no

            need to reach the question of whether he also qualified as an

            armed  career criminal.  Nor is there  a need to reach any of

            his other sentencing claims.9

                      Affirmed.
                      _________
















                                
            ____________________

            9.  The district  court only addressed these  other issues to
            ensure  a complete record in  the event that  the decision to
            sentence  Verrill  as  a  career offender  and  armed  career
            criminal was reversed on appeal. 

                                         -25-
                                          25









